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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division
  UNITED STATES, et al.,                        )
                                                )
                         Plaintiffs,            )
         v.                                     )       No. 1:23-cv-00108-LMB-JFA
                                                )
  GOOGLE LLC,                                   )
                                                )
                         Defendant.             )

                         JOINT MOTION FOR STATUS CONFERENCE

         1.      The Parties hereby move jointly for a status conference during the already-

  scheduled September 4, 2024 hearing to address certain matters regarding the conduct of trial.

         2.      The Parties respectfully request that the Court address the following issues, for

  which the Parties have indicated their positions:

                 a. Submission of Exhibits into Evidence Without a Sponsoring Witness

                         i. Plaintiffs’ Statement: Pursuant to the Parties’ Stipulation Regarding

                             Witnesses and Documents (ECF No. 1276), and otherwise when

                             appropriate, Plaintiffs may offer exhibits into evidence without a

                             sponsoring witness. Plaintiffs request the Court’s guidance as to when

                             during trial proceedings such exhibits should be offered.

                        ii. Google’s Statement: Google may also offer exhibits into evidence

                             without a sponsoring witness. Google submits the most appropriate

                             time to offer documents in evidence without a sponsoring witness is at

                             the close of the proffering party’s case-in-chief. In the Parties’

                             Stipulation Regarding Witnesses and Documents (ECF No. 1276),

                             Google waived authenticity and hearsay objections to nearly 650 of
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                        Plaintiffs’ trial exhibits in order to streamline the trial and obviate the

                        need for Plaintiffs to call 16 live witnesses. Google still may object on

                        other grounds, including whether the exhibit meets the standards for

                        relevance (FRE 402), would be needlessly cumulative (FRE 403), or

                        contains double hearsay (FRE 805). These determinations are best

                        made at the conclusion of Plaintiffs’ case-in-chief.

              b. Submission of Deposition Designations

                     i. Plaintiffs’ Statement: Plaintiffs intend to offer into evidence deposition

                        designations for several Google employee and non-party witnesses. For

                        the vast majority, Plaintiffs propose to submit a written copy of the

                        designations (containing designations made by both Parties, arranged in

                        chronological order, and excluding non-designated portions of the

                        transcript). If the Court prefers, Plaintiffs will also provide a

                        corresponding video of the designated testimony, where the deposition

                        was video-recorded. For a small number of witnesses (likely five or

                        fewer, but subject to change based on the outcome of the pending

                        motion to quash trial subpoenas), Plaintiffs request permission to play

                        portions of the designated testimony via video during trial, in addition

                        to submitting the full deposition designations for those witness.

                        Plaintiffs propose that four days before the day Plaintiffs intend to play

                        the video of a specific witness, Plaintiffs will disclose to Google the

                        witness and portions Plaintiffs intend to play. One calendar day later,

                        Google would disclose to Plaintiffs portions of Google’s designations




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                       for that witness that Google wishes to be played. Then, if needed, the

                       Parties will meet-and-confer to narrow the designations to no more than

                       90 minutes of video per witness to be played during trial. Plaintiffs

                       believe that no further process is required to address objections

                       regarding deposition designations because according to the Scheduling

                       Order all “motions to address unresolved issues concerning deposition

                       designations” were to be filed on August 16, 2024 for hearing on

                       September 4, 2024. (See ECF No. 871, at 2.)

                   ii. Google’s Statement: Google submits that any protocol as to deposition

                       designations that Plaintiffs offer in their case-in-chief apply equally to

                       Google for any deposition designations that it offers in its case-in-chief.

                       Subject to the Court’s preferences, Google submits that all deposition

                       designations should be submitted to the Court rather than played during

                       trial for efficiency purposes and to preserve the parties’ trial time for

                       live testimony. Google proposes the following more efficient protocol

                       for all deposition designations.

                          •   Four calendar days before a party intends to play or submit a

                              deposition designation, they must disclose to the opposing party

                              the name of the witness and their affirmative designations.

                          •   By the following calendar day, the opposing party then must

                              disclose their affirmative and counter designations and the

                              objections they intend to stand on.




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                                •   The parties then meet-and-confer to in an attempt to resolve any

                                    remaining objections.

                                •   The offering party must include both parties’ designations so as

                                    to avoid duplicative testimony and wasting the Court’s

                                    resources, and include any outstanding objections for the Court

                                    to rule on. 1

                                •   Further, if the Court permits deposition designations to be

                                    played in Court, the offering party must submit the designations

                                    to the Court to resolve any remaining objections before the

                                    deposition may be played. If a deposition is played live, the

                                    video must be played in chronological order and the offering

                                    party shall only submit the final, clipped version of the

                                    transcript.

                 c. Post-Trial Submissions. The Parties request the Court’s guidance on what

                     post-trial submissions the Court will order, and the timing of those

                     submissions, so the Parties may properly prepare throughout trial.

                         i. Plaintiffs’ Statement: Mindful of the substantial materials that the

                            parties have already submitted to the Court, at present Plaintiffs defer to

                            the Court’s judgment as to what further submissions would be helpful.

                            In any event, Plaintiffs stand ready to submit expeditiously any

                            additional materials as directed by the Court.



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    To the extent Plaintiffs believe the parties have waived objections to deposition designations,
  Google disagrees. Google timely submitted its objections in accordance with the Court’s
  scheduling order. ECF No. 919, 967, 1088.


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                        ii. Google’s Statement: Subject to the Court’s preferences, Google

                            believes it would be efficient and beneficial if the parties submit revised

                            Proposed Findings of Fact and Conclusions of Law to incorporate the

                            evidence and testimony that is introduced at trial. The parties would

                            submit the revised Proposed Findings of Fact and Conclusions of Law

                            expeditiously upon the conclusion of trial.

         3.      The Parties have met and conferred regarding the relief requested herein, and both

  Plaintiffs and Google join in this motion for status conference.

  Dated: August 30, 2024

  Respectfully submitted,

  FOR THE PLAINTIFFS:

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